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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


THOSE CHARACTERS FROM CLEVELAND,
LLC.,

       Plaintiff,                                  Case No. 22-cv-5390

v.                                                 Judge Virginia M. Kendall

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.

                                 FINAL JUDGMENT ORDER

        This action having been commenced by THOSE CHARACTERS FROM CLEVELAND,

 LLC. (“Plaintiff” or “CARE BEARS”) against the defendants identified in the attached

 Amended Schedule A and using the Online Marketplace Accounts (collectively, the “Defendant

 Internet Stores”), and Plaintiff having moved for entry of Default and Default Judgment against

 the defendants identified in Amended Schedule A attached hereto (collectively, the “Defaulting

 Defendants”);

        This Court having entered upon a showing by Plaintiff, a temporary restraining order and

 preliminary injunction against Defaulting Defendants which included an asset restraining order;

        Plaintiff having properly completed service of process on Defaulting Defendants, the

 combination of providing notice via electronic publication or e-mail, along with any notice that

 Defaulting Defendants received from domain name registrars and payment processors, being

 notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the
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pendency of the action and affording them the opportunity to answer and present their

objections; and

         With the exception of Defendant No. 206 “Joybuy” and Defendant Nos. 201 “Caitzr”,

208 “Shenzhen Dali Industry Co., Ltd.”, 209 “Shenzhen Rongxiner Network Technology Co.,

Ltd.”,    210     “Shenzhen    Xiaoyanzifei     Network     Technology      Co.,    Ltd.”,    211

“shenzhenshimeihuidawangluokejiyouxiangongsi” and 212 “tengjingyue”, which have been

excluded from this Order, none of the remaining Defaulting Defendants having answered the

Complaint or appeared in any way, and the time for answering the Complaint having expired;

         THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase products

bearing counterfeit versions of CARE BEARS Trademark and Copyrights.

         THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

trademark infringement and counterfeiting (15 U.S.C. § 1114, et seq.), false designation of origin

(15 U.S.C. § 1125(a)), copyright infringement (17 U.S.C. § 501) and violation of the Illinois

Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.).

         IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.




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       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED, Defaulting Defendants are deemed in default and this Final Judgment

is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that:

       1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys and

       all persons acting for, with, by, through, under, or in active concert with them be

       permanently enjoined and restrained from:

            a. using the CARE BEARS Trademarks and Copyrights or any confusingly similar

            trademark or name in any manner in connection with the distribution, marketing,

            advertising, offering for sale, or sale of any products that are not genuine CARE

            BEARS products or are not authorized by Plaintiff to be sold in connection with the

            CARE BEARS Trademarks and Copyrights;

            b. passing off, inducing, or enabling others to sell or pass off any products as

            genuine CARE BEARS products or any other products produced by Plaintiff, that are

            not Plaintiff’s or are not produced under the authorization, control or supervision of

            Plaintiff and approved by Plaintiff for sale under the CARE BEARS Trademarks and

            Copyrights;

            c. committing any acts calculated to cause consumers to believe that Defaulting

            Defendants’ products are those sold under the authorization, control or supervision of

            Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

            d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

            distributing, returning, or otherwise disposing of, in any manner, products not

            manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for



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           sale, and which bear any of the CARE BEARS Trademarks and Copyrights or any

           confusingly similar trademark or name;

           e. using, linking to, transferring, selling, exercising control over, or otherwise

           owning the Online Marketplace Accounts or any other online marketplace account

           that is being used to sell or is the means by which Defaulting Defendants could

           continue to sell counterfeiting products bearing the CARE BEARS Trademarks and

           Copyrights; and

           f. operating and/or hosting websites that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing any of the

           CARE BEARS Trademarks and Copyrights or any products that are not genuine

           CARE BEARS products or are not authorized by Plaintiff to be sold in connection

           with the CARE BEARS Trademarks and Copyrights.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, Amazon.com, Inc. (“Amazon”), AliExpress, Alipay, Alibaba, ContextLogic, Inc.

        (“Wish”), PayPal, Inc. (“PayPal”), Walmart.com, Inc. (“Walmart”), Payoneer, VeriSign,

        Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest

        Registry, within five (5) business days of receipt of this Order, shall cancel the

        registrations for the Defendant Domain Names and make them inactive.

3.      Those in privity with Defaulting Defendants and with actual notice of this Order,

        including any online marketplaces such as iOffer and Amazon, AliExpress, Alipay,

        Alibaba Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities

        (collectively, “Alipay”), Wish, PayPal, Walmart, Payoneer, social media platforms,

        Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

        Yahoo, shall within five (5) business days of receipt of this Order:

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        a.     disable and cease providing services for any accounts through which Defaulting

               Defendants engage in the sale of counterfeit and infringing goods using the CARE

               BEARS Trademarks and Copyrights, including any accounts associated with the

               Defaulting Defendants listed in Amended Schedule A attached hereto;

        b.     disable and cease displaying any advertisements used by or associated with

               Defaulting Defendants in connection with the sale of counterfeit and infringing

               goods using the CARE BEARS Trademarks and Copyrights; and

        c.     take all steps necessary to prevent links to the Defendant Domain Names

               identified in Amended Schedule A from displaying in search results, including,

               but not limited to, removing links to the Defendant Domain Names from any

               search index.

4.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiffs are awarded statutory damages from each

        of the Defaulting Defendants in the amount of one hundred thousand dollars ($100,000)

        for willful use of counterfeit CARE BEARS Trademarks and Copyrights on products sold

        through at least the Defendant Internet Stores.

5.      AliExpress, Alipay and Alibaba shall, within five (5) business days of receipt of this

        Order, permanently restrain and enjoin any accounts connected to Defaulting Defendants,

        Defaulting Defendants’ Online Marketplace Accounts or Defaulting Defendants’

        websites identified in Amended Schedule A from transferring or disposing of any money

        or other of Defaulting Defendants’ assets.

6.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by AliExpress, Alipay and Alibaba are hereby released to Plaintiff as partial

        payment of the above-identified damages, and AliExpress, Alipay and Alibaba are



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        ordered to release to Plaintiff the amounts from Defaulting Defendants’ AliExpress,

        Alipay and Alibaba accounts within ten (10) business days of receipt of this Order.

7.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

        Defendant, Plaintiff shall have the ongoing authority to serve this Order on AliExpress,

        Alipay and Alibaba in the event that any new AliExpress, Alipay and Alibaba accounts

        controlled or operated by Defaulting Defendants are identified. Upon receipt of this

        Order, AliExpress, Alipay and Alibaba shall within five (5) business days:

        a.     Locate all accounts and funds connected to Defaulting Defendants, Defaulting

               Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

               including, but not limited to, any AliExpress, Alipay and Alibaba accounts;

        b.     Restrain and enjoin such accounts or funds from transferring or disposing of any

               money or other of Defaulting Defendants’ assets; and

        c.     Release all monies restrained in Defaulting Defendants’ AliExpress, Alipay and

               Alibaba accounts to Plaintiff as partial payment of the above-identified damages

               within ten (10) business days of receipt of this Order.

8.      Amazon shall, within five (5) business days of receipt of this Order, permanently restrain

        and enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

        Online Marketplace Accounts or Defaulting Defendants’ websites identified in Amended

        Schedule A from transferring or disposing of any money or other of Defaulting

        Defendants’ assets.

9.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

        monies held by Amazon are hereby released to Plaintiff as partial payment of the above-

        identified damages, and Amazon are ordered to release to Plaintiff the amounts from



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         Defaulting Defendants’ Amazon accounts within ten (10) business days of receipt of this

         Order.

10.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to serve this Order on Amazon in

         the event that any new Amazon accounts controlled or operated by Defaulting

         Defendants are identified. Upon receipt of this Order, Amazon shall within five (5)

         business days:

         a   Locate all accounts and funds connected to Defaulting Defendants, Defaulting

             Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

             including, but not limited to, any Amazon accounts;

         b   Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

         c   Release all monies restrained in Defaulting Defendants’ Amazon accounts to Plaintiff

             as partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

11.      Wish shall, within five (5) business days of receipt of this Order, permanently restrain

         and enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

         Online Marketplace Accounts or Defaulting Defendants’ websites identified in Amended

         Schedule A from transferring or disposing of any money or other of Defaulting

         Defendants’ assets.

12.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

         monies held by Wish are hereby released to Plaintiff as partial payment of the above-

         identified damages, and Wish are ordered to release to Plaintiff the amounts from



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         Defaulting Defendants’ Wish accounts within ten (10) business days of receipt of this

         Order.

13.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to serve this Order on Wish in the

         event that any new Wish accounts controlled or operated by Defaulting Defendants are

         identified. Upon receipt of this Order, Wish shall within five (5) business days:

         a   Locate all accounts and funds connected to Defaulting Defendants, Defaulting

             Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

             including, but not limited to, any Wish accounts;

         b   Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

         c   Release all monies restrained in Defaulting Defendants’ Wish accounts to Plaintiff as

             partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

14.      PayPal shall, within five (5) business days of receipt of this Order, permanently restrain

         and enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

         Online Marketplace Accounts or Defaulting Defendants’ websites identified in Amended

         Schedule A from transferring or disposing of any money or other of Defaulting

         Defendants’ assets.

15.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

         monies held by PayPal are hereby released to Plaintiff as partial payment of the above-

         identified damages, and PayPal are ordered to release to Plaintiff the amounts from

         Defaulting Defendants’ PayPal accounts within ten (10) business days of receipt of this

         Order.

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16.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to serve this Order on PayPal in the

         event that any new PayPal accounts controlled or operated by Defaulting Defendants are

         identified. Upon receipt of this Order, PayPal shall within five (5) business days:

         a   Locate all accounts and funds connected to Defaulting Defendants, Defaulting

             Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

             including, but not limited to, any PayPal accounts;

         b   Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

         c   Release all monies restrained in Defaulting Defendants’ PayPal accounts to Plaintiff

             as partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

17.      Walmart shall, within five (5) business days of receipt of this Order, permanently restrain

         and enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

         Online Marketplace Accounts or Defaulting Defendants’ websites identified in Amended

         Schedule A from transferring or disposing of any money or other of Defaulting

         Defendants’ assets.

18.      All monies currently restrained in Defaulting Defendants’ financial accounts, including

         monies held by Walmart are hereby released to Plaintiff as partial payment of the above-

         identified damages, and Walmart are ordered to release to Plaintiff the amounts from

         Defaulting Defendants’ Walmart accounts within ten (10) business days of receipt of this

         Order.

19.      Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiff shall have the ongoing authority to serve this Order on Walmart in

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      the event that any new Walmart accounts controlled or operated by Defaulting

      Defendants are identified. Upon receipt of this Order, Walmart shall within five (5)

      business days:

      a   Locate all accounts and funds connected to Defaulting Defendants, Defaulting

          Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

          including, but not limited to, any Walmart accounts;

      b   Restrain and enjoin such accounts or funds from transferring or disposing of any

          money or other of Defaulting Defendants’ assets; and

      c   Release all monies restrained in Defaulting Defendants’ Walmart accounts to Plaintiff

          as partial payment of the above-identified damages within ten (10) business days of

          receipt of this Order.

20.   Payoneer shall, within five (5) business days of receipt of this Order, permanently

      restrain and enjoin any accounts connected to Defaulting Defendants, Defaulting

      Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites identified

      in Amended Schedule A from transferring or disposing of any money or other of

      Defaulting Defendants’ assets.

21.   All monies currently restrained in Defaulting Defendants’ financial accounts, including

      monies held by Payoneer are hereby released to Plaintiff as partial payment of the above-

      identified damages, and Payoneer are ordered to release to Plaintiff the amounts from

      Defaulting Defendants’ Payoneer accounts within ten (10) business days of receipt of this

      Order.

22.   Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

      Defendant, Plaintiff shall have the ongoing authority to serve this Order on Payoneer in

      the event that any new Payoneer accounts controlled or operated by Defaulting

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      Defendants are identified. Upon receipt of this Order, Payoneer shall within five (5)

      business days:

      a    Locate all accounts and funds connected to Defaulting Defendants, Defaulting

           Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

           including, but not limited to, any Payoneer accounts;

      b    Restrain and enjoin such accounts or funds from transferring or disposing of any

           money or other of Defaulting Defendants’ assets; and

      c    Release all monies restrained in Defaulting Defendants’ Payoneer accounts to

           Plaintiff as partial payment of the above-identified damages within ten (10) business

           days of receipt of this Order.

23.   Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

      Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks,

      savings and loan associations, or other financial institutions (collectively, the “Financial

      Service Providers”) in the event that any new financial accounts controlled or operated by

      Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

      Providers shall within five (5) business days:

      a.      Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’

              Online Marketplace Accounts or Defaulting Defendants’ websites;

      b.      Restrain and enjoin such accounts from receiving, transferring or disposing of any

              money or other of Defaulting Defendants’ assets; and

      c.      Release all monies restrained in Defaulting Defendants’ financial accounts to

              Plaintiff as partial payment of the above-identified damages within ten (10)

              business days of receipt of this Order.



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24.   In the event that Plaintiff identifies any additional online marketplace accounts or

      financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any

      supplemental proceeding to Defaulting Defendants by e-mail at the email addresses

      identified in Exhibit 1 to the Declaration of Sean Gorman and any e-mail addresses

      provided for Defaulting Defendants by third parties.

25.   The ten thousand dollar ($10,000) surety bond posted by Plaintiff is hereby released to

      counsel of record for Plaintiff, Michael A. Hierl of Hughes Socol Piers Resnick & Dym,

      Ltd. at Three First National Plaza, 70 W. Madison Street, Suite 4000, Chicago, IL 60602.

      This is a Final Judgment.



Dated: August 3, 2023


                                   _____________________________________
                                   The Honorable Virginia M. Kendall
                                   United States District Judge




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                            AMENDED SCHEDULE A

       No.   Defendant Name / Alias
        1    AK SUPPER SHOP
        3    H&A Everything
        4    punjabishop
        5    RATHORE COLLECTIONS
        6    -WalMart
        7    Proaa N2 Store
        8    TOP1 Q6 Store
        9    TOP1 XQY Store
       10    vava Z7 Store
       11    Jinjiang Shangyi Youpin Crafts Co., Ltd.
       12    Jinjiang Shengran Garment Accessories Co., Ltd.
       14    Ahaggar
       15    bailishuang
       16    Challenger Champions
       17    curvedcoastline01
       18    Eem24WXR
       19    Emden100
       20    enidstore
       22    Gregorio
       23    hardworkingbeer
       24    hawaii
       25    hiamisir
       26    lushastore
       27    seafeel
       28    skymountain
       29    smilelanlan
       30    tenthousand
       31    The green mood
       32    Baiyueguang
       33    Banjin Technology
       38    Cassiopeia Cas
       39    Cepheus Store
       42    Dalkak
       43    daochunshangmao
       45    DOTHANHTAM
       46    duoqianjinzhe
       48    Etiondrm-US
       49    fer ao
       50    Ganlai
       51    gexingstore
       53    GLOBALCART1
       55    H K Company

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        56   haikouliuerbiaoshangmaoyouxiangongsi78
        68   juchuangqikejiyouxiangongsi
        69   jyzgtm
        70   kaishengmingchafang
        74   Loveisatsunami
        75   Magic Linkers
        76   menglongshang
        77   MinhTrangStore
        82   PianoKeys
        83   pingxiyiyishangmaoyouxiangongsi
        87   Seiko Furniture Store
        89   SHIQIYE
        92   TIANKONG の CHENG
        93   TKYdexiaodianzi
        94   tulihuahuo
        95   Tuntr7
        96   TZXFNYT 7-15 days Delivery
       101   xiaosanxiao store
       102   Xin Yang Zhong Tang
       103   YippyStore
       104   YTTYSH-US
       105   yuanzhiquan
       106   YuexinYuexiang
       107   Yuke Trading Co., Ltd.
       108   Zhao Keping Department Store
       110   ZHUSHANG
       111   海南琦勇峰商贸有限公司
       112   2021=Support Drop Shipping Store
       113   3C Digitai Briliant Store
       114   7778 Store
       115   AAAAorange Store
       116   Across the ocean Store
       118   Ali Tech Store
       119   Amada Store
       120   BabiColor Official Store
       121   BANDAI -11 Store
       122   BAOLIWEN Store
       123   BBDD Store
       124   Beauty Online Store
       125   Bibaboo Store
       126   BibiCola Official Store
       127   Cartoon Backpack Store
       128   Chunchen DropShipping Store
       129   CUTEMOON Official Store

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       130   daideshipin Store
       131   Disney Direct-sale Store
       132   DreamsCome True Store
       133   Eachan Store
       134   Fancan little boy Official Store
       135   GFJ-Season Store
       136   GOODA Store
       139   Hiboy Store
       140   HongHong Store
       141   IAUT Store
       142   Iirs Store
       143   IM Store Store
       144   iSunful Tech Store
       145   ITOYOKO Fake Nails Store
       146   Itsyoung Store
       147   JL Funny Store
       148   JunRong baby Store
       149   Kimy Store
       150   Leizi Super Cool Sticker Store
       151   Lucky Plush Store
       152   MASONRRINCE Store
       153   O2O Wholesale Toy Store Store
       154   Sapling Store
       155   Shop5558065 Store
       156   Shop910547233 Store
       157   Young Play Store
       159   Ankang Aiduobao Animation Culture Industry Co., Ltd.
       162   Dongguan Fanling E-Commerce Co., Ltd.
       164   Foshan Chancheng Kangkang Garment Factory
       165   Fujian Kaopu Commodity Co., Ltd.
       166   Guangzhou Yifan Technology Co., Ltd.
       167   Hangzhou Duoqi Garments Co., Ltd.
       168   Jinhua Hairong Import And Export Co., Ltd.
       170   Jinjiang Leading Captain Shoes Co., Ltd.
       171   Jinjiang Memine Supply Chain Management Co., Ltd.
       172   Jinjiang Shunxi Trading Company Ltd.
       174   Jinjiang Zugang Shoes Co., Ltd.
       176   Kunshan Trust Trade Co., Ltd.
       177   Quanzhou City Xiami Crafts Co., Ltd.
       179   Shenzhen Dingtu Electronic Technology Co., Ltd.
       180   Shenzhen Flitome Technology Co., Ltd.
       181   Shenzhen Huiboxin Electronics Co., Ltd.
       182   Shenzhen Jary Technology Co., Ltd.
       183   Shenzhen Levin Plush Toys Co., Ltd.
       184   Shenzhen Levin Toys & Gifts Co., Limited

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       185   Shenzhen Shuyun Industry Co., Ltd.
       186   Shenzhen Yimingshang Industrial Development Co., Ltd.
       188   Shenzhen Yitu Electronics Co., Ltd.
       189   Yangzhou Lsd Electronics Co., Ltd.
       190   Yiwu All Shine Import & Export Co., Ltd.
       191   Yiwu Allo Trading Co., Ltd.
       192   Yiwu Aullan Import & Export Co., Ltd.
       194   Yiwu Huanhuan Garments Co., Ltd
       195   Yiwu Jianzhan Trading Firm
       196   Yiwu Muxi E-Commerce Firm
       198   Yiwu Yingsai Garment Co.,Ltd.
       199   Zhongshan Haizina Electric Appliance Co., Ltd.
       200   Zhuji Jingxin Knitting Co., Ltd.
       202   CHENGDUHONGNIWUKEJIYOUXIANGONGSI
       203   dabojinshoushiqicai
       204   GF-Huinong
       205   jiningenpingshangmaoyouxiangongsi
       207   LIXIN TECH
       213   Tianlu Electronics
       214   weifangchengkaishangmaoyouxiangongsi
       215   YuanTU




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